        Case 23-18880-ABA         Doc 26     Filed 11/30/23 Entered 11/30/23 09:40:17           Desc Main
                                            Document      Page 1 of 2



         William J. Burnett, Esquire (WB4536)
         FLASTER GREENBERG, P.C.
         1717 Arch Street, Suite 3300
         Philadelphia, PA 19103
         Tel: 215.587.5680
         Fax: 215-279-9394
         Attorneys for the Ch. 7 Trustee

                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEW JERSEY

         IN RE:                                        CAMDEN VICINAGE
                                                       Chapter 7
         EVESHAM MORTGAGE, LLC,
                                                       Case No.: 23-18880-ABA
                                                       Judge: Hon. Andrew B. Altenburg, Jr.
                                           Debtor.
                                                          REQUEST FOR SERVICE OF PAPERS,
                                                         RECEIPT OF NOTICES AND INCLUSION
                                                                  ON NOTICE LIST


         To the Clerk of the Bankruptcy Court, the Debtor, and all other Parties-In-Interest:

                                      NOTICE OF APPEARANCE AND
                                    REQUEST FOR SERVICE OF PAPERS

                  PLEASE TAKE NOTICE that pursuant to Rules 2002 and 9007 of the Federal Rules of

         Bankruptcy Procedure (the “Bankruptcy Rules”), the undersigned attorney for the Chapter 7

         Trustee requests that all notices given or required to be given in these cases, and all papers

         served or required to be served in these cases, be given to and served upon the following:

                                       William J. Burnett, Esquire
                                       Flaster Greenberg, P.C.
                                       1717 Arch Street, Suite 3300
                                       Philadelphia, PA 19103
                                       William.Burnett@flastergreenberg.com

                  PLEASE TAKE FURTHER NOTICE that this request includes not only the notices

         and papers referred to in the Bankruptcy Rules specified above, but also includes, without

         limitation, orders and notices of any application, motion, petition, pleading, request, complaint,
10880860 v1
        Case 23-18880-ABA          Doc 26     Filed 11/30/23 Entered 11/30/23 09:40:17             Desc Main
                                             Document      Page 2 of 2



         or demand, whether formal or informal, whether written or oral, and whether transmitted or

         conveyed by mail, courier service, hand delivery, telephone, facsimile transmission, telegraph,

         telex or otherwise, that affects or seeks to affect in any way any rights or interests of any creditor

         or party in interest in these cases with respect to: (a) the above-captioned debtor, (b) property of

         the debtor’s estates, or proceeds thereof, in which the debtor may claim an interest, or (c)

         property or proceeds thereof in the possession, custody, or control of others that the debtors may

         seek to use.



         Dated: November 30, 2023                       FLASTER GREENBERG, P.C.

                                                        /s/William J. Burnett
                                                        ______________________________________
                                                        William J. Burnett, Esquire




10880860 v1



                                                           2
